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              8
              9   Counsel to Defendants Toshiba Corporation,
                  Toshiba America, Inc., Toshiba America
             10
                  Information Systems, Inc., Toshiba America
             11   Consumer Products, L.L.C., and Toshiba
                  America Electronic Components, Inc.
(L:s:.,..,   12
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~!~          13                          UNITED STATES DISTRICT COURT
gJwo                                    NORTHERN DISTRICT OF CALIFORNIA
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     Q)C>                                   (SAN FRANCISCO DIVISION)
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                  IN RE: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
             17   ANTITRUST LITIGATION                                  MDL No. 1917
             18
             19   This Document Relates to:
             20
                  Case No. C 11-6397 SC
             21
                  COSTCO WHOLESALE CORPORATION,
             22                                                 DECLARATION OF LUCIUS B.
             23                               Plaintiff,        LAU IN SUPPORT OF TOSHIBA
                                                                DEFENDANTS' MOTION TO
             24
                              v.                                COMPEL ARBITRATION
             25
                  HITACHI, LTD., et al.,
             26
             27                               Defendants.
             28


                                       DECLARATION OF LUCIUS B. LAU IN SUPPORT OF
                                   TOSHIBA DEFENDANTS' MOTION TO COMPEL ARBITRATION
                                                  Case No. C 11-6397 SC
                                                      MDLNo. l917
                          Case 4:07-cv-05944-JST Document 1332-1 Filed 08/24/12 Page 2 of 4




                   1     I, Lucius B. Lau, hereby declare as follows:
                   2         1.       I am Counsel with the law firm of White & Case LLP, counsel for Defendants
                   3   Toshiba Corporation, Toshiba America, Inc., Toshiba America Information Systems, Inc.,
                   4   Toshiba America Consumer Products, L.L.C., and Toshiba America Electronic Components,
                   5   Inc. (collectively, the "Toshiba Defendants").   I make this declaration in support of the
                   6   Toshiba Defendants' Motion to Compel Arbitration.
                   7         2.       On June 13, 2011, Costco produced a copy of an executed Vendor Agreement
                   8   between Costco and Toshiba America Consumer Products, Inc. (the "Vendor Agreement) as
                   9   CostcoLCD_000000013-17 in In re: TFT-LCD (Flat Panel) Antitrust Litigation, No. M 07-
                  10   1827 SI (N.D. Cal.). Attached hereto as Exhibit A is a true and correct copy of the Vendor
                  11   Agreement.

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                              I declare under penalty of perjury under the laws of the United States of America that
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O~c               14   the foregoing is true and correct.
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       Q)O>
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                  16          Executed this 24th day of August, 2012, in Washington, D.C.




                                                                                  ~fb.Lau
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                                            DECLARATION OF LUCIUS B. LAU IN SUPPORT OF
                                        TOSHIBA DEFENDANTS' MOTION TO COMPEL ARBITRATION
                                                       Case No. C 11-6397 SC
                                                           MDLNo.1917
Case 4:07-cv-05944-JST Document 1332-1 Filed 08/24/12 Page 3 of 4




            EXHIBIT A

  (FILED UNDER SEAL)
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               1                                 CERTIFICATE OF SERVICE
               2
                          On August 24, 2012, I caused a copy of "DECLARATION OF LUCIUS B. LAU IN
               3
                   SUPOPRT OF TOSHIBA DEFENDANTS' MOTION TO COMPEL ARBITRATION" to be
               4
                   electronically filed via the Court's Electronic Case Filing System, which constitutes service in
               5
                   this action pursuant to the Court's order of September 2, 2008.
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                                        DECLARATION OF LUCIUS B. LAU IN SUPPORT OF
                                    TOSHIBA DEFENDANTS' MOTION TO COMPEL ARBITRATION
                                                   Case No. C 11-6397 SC
                                                       MDLNo. l917
